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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA

                    Plaintiff

                       vs.                      Crim. No. 19-155 (DRD)

 HECTOR SANCHEZ-MORALES

                    Defendant



 MOTION SUPPLEMENTING REPLY TO GOVERNMENT’S OPPOSITION
              TO REQUEST FOR INFORMATION

TO THE HONORABLE COURT:

       Comes now defendant, through the undersigned counsel, and respectfully

states and prays:

       1.     On April 23, 2019 defendant replied to the government’s opposition

to his request for the name of the individual identified as “A.G.” in the indictment.

Docket No. 34. Among the arguments put forward by the government in its

opposition to defendant’s request was that the Report of Investigation

memorializing Mr. Sánchez’ use of the name “Maria” when addressing “A.G.”

referred to in Mr. Sánchez’ motion was not reliable. According to the prosecution

the reference was untrustworthy and self-serving.




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       2.      In his reply, defendant called the court’s attention to the fact that the

ROI sought to memorialize “A.G.’s” statements, not the defendant’s, and that the

government had avoided admitting or denying whether “A.G.” used the name

“Maria.” If she did, her actual name would provide grounds for impeachment and

was subject to discovery under Brady v. Maryland, 373 U.S. 83 (1963).

       3.      Subsequent to the filing of defendant’s reply the undersigned

reviewed additional discovery provided by the government and became aware

that, according to other Reports of Investigation, “A.G.” was known to the persons

who retrieved her from Añasco, P.R., as “Mary.” Copies of the ROI will be

submitted to the court separately under restriction. Thus, the government’s

discovery corroborates that “A.G.” is likely to have used the name “Maria” in her

interactions with the defendant and further supports the release of her actual name

to the defense.

       WHEREFORE, it is respectfully requested that this Honorable Court deem

defendant’s reply at Docket No. 34 to be supplemented with the information set

forth above.

      I CERTIFY that this motion has been filed using the court’s CM/ECF system
which will automatically give notice of the filing to all parties of record.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 26th day of April 2019.

                                            ERIC A. VOS, Esq.

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                                Federal Public Defender

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